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 7
 8                                 UNITED STATE DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                     )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                         )
11                                                     )   STIPULATION AND ORDER FOR A
                   Plaintiff,                          )   RESETTING OF HEARING ON REPORT
12                                                     )   OF PROBATION OFFICER
     v.                                                )
13                                                     )
     JOSE ARELLANO,                                    )
14                                                     )
                   Defendants.                         )
15                                                     )
                                                       )
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18           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

19 the defendant by and through his attorney, that the date set for hearing on the presentence report of
20 the probation officer and sentencing be extended as follows:
21                 Formal Objections must be filed with the Court and served on
22                 Probation and AUSA: move from February 24, 2014 to March 31,
                   2014.
23
                   RPO Hearing: move from 8:30 a.m. on March 3, 2014 to 8:30 a.m.
24                 on April 7, 2014.
25           The justification for moving Mr. ARELLANO’s sentencing is as follows: in the capital
26 prosecution matter of UNITED STATES v. JAMES LEON GUERRERO, Case No.: 1:08-CR-00259-
27 PMP counsel must attend a meeting in Los Angeles with Stuart Grassian M.D. a psychiatrist from
28 Boston, Massachusetts, that due to his limited availability the only time that was available for Dr.
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 1 Grassian to travel to Los Angeles and consult with counsel and perform a psychiatric interview
 2 with Mr. Leon Guerrero at FCI Terminal Island is March 2 through March 5, 2014.
 3
                                                     Respectfully submitted,
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 6
     DATED: February 24, 2014                         /s/ Salvatore Sciandra
 7                                                   SALVATORE SCIANDRA
                                                     Attorney for Defendant,
 8                                                   JOSE ARELLANO
 9
10
     DATED: February 24, 2014                         /s/ Kimberly A. Sanchez
11                                                   KIMBERLY A. SANCHEZ
                                                     Assistant United States Attorney
12
13                                                   This was agreed to via telephone.

14
                                              ORDER
15
16 IT IS SO ORDERED.
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        Dated:   February 25, 2014                     /s/ Lawrence J. O’Neill
18                                                UNITED STATES DISTRICT JUDGE
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